          Case 2:11-cr-00120-JCC          Document 84        Filed 05/03/11      Page 1 of 3



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 5
                                   UNITED STATES DISTRICT COURT
 6                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,
 9                          Plaintiff,
                                                                  CASE NO. CR11-120-JCC
10          v.
                                                                  DETENTION ORDER
11   JOHN WASHINGTON,
12                          Defendant.
13

14   Offense charged:

15          Conspiracy to Distribute Marijuana, 1,000 kilograms or more

16   Date of Detention Hearing: May 3, 2011

17          The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based

18   upon the factual findings and statement of reasons for detention hereafter set forth, finds that no

19   condition or combination of conditions which defendant can meet will reasonably assure the safety of

20   any other person and the community, and that defendant will make his court appearances as required.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22         (1)      There is probable cause to believe defendant committed the drug offense charged in

23                  this case. The maximum penalty for this offense is in excess of ten years. There is

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     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
        Case 2:11-cr-00120-JCC         Document 84          Filed 05/03/11    Page 2 of 3



 1               therefore a rebuttable presumption against defendant as to both dangerousness and

 2               flight risk, under 18 U.S.C. § 3142(e).

 3        (2)    Nothing in the record effectively rebuts that presumption.

 4        (3)   Wiretaps and other evidence indicate that defendant was a major customer in the

 5              Seattle area for marijuana distributed by the alleged conspiracy, headed by Jacob Saul

 6              Stuart. The evidence also indicates that defendant had contacts in Atlanta, GA and in

 7              other areas, enabling the conspiracy to sell drugs in those areas as well.

 8       (4)    Defendant was surveilled receiving multiple hockey bags containing marijuana.

 9       (5)    A search of defendant’s residence produced 50 pounds of marijuana, and a large

10              amount of currency in a safe. A search of the trash at defendant’s residence in

11              September of 2010 produced bags labeled to indicated different strains of marijuana;

12              packaging materials; and a digital scale.

13       (6)    In 2004 defendant was convicted in federal court in Tennessee for use of a telephone to

14              facilitate a cocaine distribution. A search of his residence at that time produced

15              $700,000 in cash.

16       (7)    Defendant currently has no known legitimate employment.

17       (8)    Defendant admits that he smokes marijuana on a daily basis, and that he has also

18              experimented with Ecstasy in the past.

19       (9)    The charges in this case carry a mandatory minimum sentence of 10 years, and a

20              maximum of life imprisonment. The prospect of such penalties provide defendant with

21              substantial incentive to flee, if released. Although he has significant local support in

22              this community, his apparent ties in Atlanta and other locations support concerns about

23              whether he would remain here, if released.

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     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
        Case 2:11-cr-00120-JCC         Document 84        Filed 05/03/11      Page 3 of 3



 1 It is therefore ORDERED:

 2        (1)   Defendant shall be detained pending trial and committed to the custody of the Attorney

 3              General for confinement in a corrections facility separate, to the extent practicable,

 4              from persons awaiting or serving sentences or being held in custody pending appeal;

 5        (2)   Defendant shall be afforded reasonable opportunity for private consultation with

 6              counsel;

 7        (3)   On order of a court of the United States or on request of an attorney for the

 8              Government, the person in charge of the corrections facility in which defendant is

 9              confined shall deliver the defendant to a United States Marshal for the purpose of an

10              appearance in connection with a court proceeding; and

11        (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

12              for the defendant, to the United States Marshal, and to the United States Pretrial

13              Services Officer.

14        DATED this 3rd day of May, 2011.

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                                                      A
                                                      John L. Weinberg
                                                      United States Magistrate Judge
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     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
